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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


MOBILE PIXELS, INC.,                )                Case No.
           Plaintiff,               )
                                    )                COMPLAINT
v.                                  )
                                    )
THE PARTNERSHIPS AND                )
UNINCORPORATED ASSOCIATIONS )
IDENTIFIED ON SCHEDULE “A”,         )                DEMAND FOR JURY TRIAL
                                    )
            Defendants.             )
____________________________________)


              PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL
       Plaintiff Mobile Pixels, Inc. (“Mobile Pixels” of “Plaintiff”) submits this Motion

requesting leave to file the following documents under seal: (1) Schedule A attached to the

Complaint, which lists the fully-interactive e-commerce stores operating under the Seller Aliases

(the “Seller Aliases”) and the e-commerce store URLs under the Online Marketplaces; and (2)

Exhibit 1 to the Complaint and Exhibit 2 to the Declaration of Xiaoliang Yao, which includes

screenshot printouts showing the e-commerce stores operating under the Seller Aliases.

       In this action, Mobile Pixels is requesting temporary ex parte relief based on an action for

design patent infringement. Sealing this portion of the file is necessary to prevent the

Defendants from learning of these proceedings prior to the execution of the temporary

restraining order. If Defendants were to learn of these proceedings prematurely, the likely result

would be the destruction of relevant documentary evidence and the hiding or transferring of

assets to foreign jurisdictions, which would frustrate the purpose of the underlying law and

would interfere with this Court’s power to grant relief. Once the temporary restraining order has
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been served on the relevant parties and the requested actions are taken, Mobile Pixels will move

to unseal these documents.




 Dated: October 30, 2023                    Respectfully submitted,

                                                  /s/ Thomas P. McNulty
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